Filed 03/24/16                                   Case 15-14228                                               Doc 81


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTE ORDER


    Case Title :        Oscar Gutierrez                                  Case No : 15−14228 − B − 13
                                                                            Date : 03/23/2016
                                                                            Time : 01:30

    Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                        $176) (eFilingID: 5697015) (msam)


    Judge :             Rene Lastreto II                      Courtroom Deputy : Jennifer Dauer
    Department :        B                                             Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


                                              CIVIL MINUTE ORDER


    There having been no appearance by the parties at the scheduled hearing,

    IT IS ORDERED that the matter is continued to April 13, 2016 at 1:30 p.m. in Department B, Courtroom 13,
    Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California. The court adopts the findings as set
    forth in the court's civil minutes for the hearing held on January 28, 2016, docket number 58.




                 Mar 24, 2016
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    This document does not constitute a certificate of service. The parties listed below will be served a
    separate copy of the attached Civil Minute Order.


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